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                                                                        UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                   8      IN RE: LITHIUM ION BATTERIES                    Case No.: 13-MD-2420 YGR
                                          ANTITRUST LITIGATION
                                   9                                                      ORDER REQUIRING SUPPLEMENTAL
                                                                                          BRIEFING RE: MOTION FOR RELIEF FROM
                                  10                                                      NON-DISPOSITIVE PRETRIAL ORDER OF
                                          This Order Relates to:
                                                                                          MAGISTRATE JUDGE
                                  11
                                          All Direct and Indirect Purchaser
                                          Actions
Northern District of California




                                  12
 United States District Court




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                                  14          Defendants LG Chem Ltd. and LG Chem America, Inc. (the “LG defendants”) have filed a
                                  15   motion for relief from a non-dispositive pretrial order of Magistrate Judge Ryu relating to the
                                  16   anticipated deposition of Seok Hwan Kwak. (Dkt. No. 852.) The Court previously ordered a
                                  17   response from plaintiffs. (Dkt. No. 855.) Thereafter, the LG defendants filed a reply thereto
                                  18   without seeking leave. The Court now ORDERS as follows:
                                  19          By October 26, 2015, plaintiffs shall file a supplemental brief of no more than seven (7)
                                  20   pages addressing: (1) whether evidentiary sanctions are appropriate in light of the LG defendants’
                                  21   purported failure to provide sufficient notice of Kwak’s change in employment status as an
                                  22   alternative to a deposition; and (2) if so, what form of evidentiary sanction is requested. By noon
                                  23   on October 28, 2015, the LG defendants shall file a response of no more than seven (7) pages.
                                  24          IT IS SO ORDERED.
                                  25   Dated: October 21, 2015                         _______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  26                                                      UNITED STATES DISTRICT COURT JUDGE
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